                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

IN RE:                                          Chapter 7
                                                Case No. 20-10553 (CTG)
START MAN FURNITURE, LLC, et al.1               Jointly Administered


    TODD STEWART and JENNIFER                   Civil Action No. 22-cv-450 (CFC)
    SAWLE, on behalf of themselves and all
    others similarly situated,                  Bankruptcy Case No. 20-10553 (CTG)
                                                Bankruptcy Adv. Pro. No. 20-50548
                              Appellants,       (CTG)
    v.                                          Bankruptcy BAP No. 22-00030


    ALFRED T. GIULIANO, chapter 7 trustee
    for Debtors Start Man Furniture, LLC, et
    al.,

                              Appellee.




1
 The Debtors in these cases, along with the last four digits of each Debtor’s federal
tax identification number, include: Start Man Furniture, LLC (f/k/a Art Van
Furniture, LLC) (9205); SVF Holding Company, Inc. (f/k/a AVF Holding Company,
Inc.) (0291); SVCE, LLC (f/k/a AVCE, LLC) (2509); StartVF Holdings I, LLC
(f/k/a AVF Holdings I, LLC) (2537); StartVF Holdings II, LLC (f/k/a AVF Holdings
II, LLC) (7472); SVF Parent, LLC (f/k/a AVF Parent, LLC) (3451); Levin Parent,
LLC (8052); Start Man Furniture of Canada, LLC (f/k/a Art Van Furniture of
Canada, LLC) (9491); SV Sleep Franchising, LLC (f/k/a AV Pure Sleep
Franchising, LLC) (8968); SVF Franchising, LLC (f/k/a AVF Franchising, LLC)
(6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress
LLC (4463).

                                            i
DOCS_LA:344272.10 05233/003
 ALFRED T. GIULIANO, chapter 7 trustee
 For Debtors Start Man Furniture, LLC, et Civil Action No. 22-cv-489 (CFC)
 al.,
                                          Bankruptcy Case No. 20-10553 (CTG)
                        Appellant,        Bankruptcy Adv. Pro. No. 20-50548
                                          (CTG) Bankruptcy BAP No. 22-00032
 v.

 TODD STEWART and JENNIFER
 SAWLE, on behalf of themselves and all
 others similarly situated,

                              Appellees.


                      APPELLEE TRUSTEE’S ANSWERING BRIEF
                                           PACHULSKI STANG ZIEHL & JONES LLP
                                           Bradford J. Sandler (Bar No. 4142)
                                           Beth E. Levine (admitted pro hac vice)
                                           Colin R. Robinson (Bar No. 5524)
                                           Peter J. Keane (Bar No. 5503)
                                           919 North Market Street, 17th Floor
                                           Wilmington, DE 19801
                                           Telephone: (302) 652-4100
                                           Facsimile: (302) 652-4400
                                           Email: bsandler@pszjlaw.com
                                                  crobinson@pszjlaw.com
                                                  pkeane@pszjlaw.com
                                           Counsel to Alfred T. Giuliano, Chapter 7
                                                         Trustee




                                            ii
DOCS_LA:344272.10 05233/003
                       CORPORATE DISCLOSURE STATEMENT

        Each of the Debtors listed below* is wholly directly or indirectly owned by

SVF       Holding        Company,   Inc.   (f/k/a   AVF   Holding   Company,   Inc.)

(“Holding”). Holding has no corporate parent, and there is no publicly held

corporation that owns 10% or more of its stock.

        *Applicable Debtors: Start Man Furniture, LLC (f/k/a Art Van Furniture,

LLC); SVCE, LLC (f/k/a AVCE, LLC); StartVF Holdings I, LLC (f/k/a AVF

Holdings I, LLC); StartVF Holdings II, LLC (f/k/a AVF Holdings II, LLC); SVF

Parent, LLC (f/k/a AVF Parent, LLC); Levin Parent, LLC; Start Man Furniture of

Canada, LLC (f/k/a Art Van Furniture of Canada, LLC); SV Sleep Franchising, LLC

(f/k/a AV Pure Sleep Franchising, LLC); SVF Franchising, LLC (f/k/a AVF

Franchising, LLC); LF Trucking, Inc.; Sam Levin, Inc.; and Comfort Mattress LLC.




                                             iii
DOCS_LA:344272.10 05233/003
                                      TABLE OF CONTENTS
                                                                                                             Page



I.      PRELIMINARY STATEMENT ..................................................................... 1
II.     STANDARD OF REVIEW ............................................................................. 6
III.    STATEMENT OF THE CASE ....................................................................... 7
        A.       General Background .............................................................................. 7
        B.       The Planned Liquidation Process .......................................................... 8
        C.       The Filing of the Chapter 11 Cases and the Rapid Escalation of
                 the Pandemic Resulting in the Layoff ................................................. 12
        D.       The Adversary Proceeding and the Bankruptcy Court Ruling ........... 18
III.    SUMMARY OF ARGUMENT ..................................................................... 19
IV.     ARGUMENT ................................................................................................. 20
        A.       The Unprecedented COVID-19 Pandemic and the Attendant
                 Immediate Governmental Shutdown of Non-Essential
                 Businesses Including the Debtors’ Stores and the Mandated
                 “Stay at Home” Orders Were “Not Reasonably Foreseeable”
                 and Thus, the UBC Defense Applies and the Debtors Were Not
                 Subject to the 60-Day Notice Provisions of the WARN Act. ............. 20
        B.       The Bankruptcy Court Did Not Err in Finding the COVID-19
                 Pandemic Directly Caused the Layoff for Purposes of the UBC
                 Exception and Natural Disaster Exception. ........................................ 25
        C.       The Debtors Were Not Required to Provide Any Notice
                 Because the Layoff Was Due to the COVID-19 Pandemic -- a
                 “Natural Disaster” For Purposes of the WARN Act. .......................... 28
                 1.       The Pandemic Is a Natural Disaster .......................................... 28
                 2.       The But-For Causation Standard Applies to the Natural
                          Disaster Exception .................................................................... 34
        D.       The Bankruptcy Court Did Not Err in Denying Appellants Any
                 Further Discovery in the Adversary Proceeding. ................................ 38
V.      CONCLUSION.............................................................................................. 40



                                                        iv
DOCS_LA:344272.10 05233/003
                                      TABLE OF AUTHORITIES
                                                                                                             Page(s)

Cases
American Flint Glass Workers Union v. Anchor Resolution Corp.,
  197 F.3d 76 (3d Cir. 1999) .....................................................................................6
Czyzewksi v. Jevic Transp. Inc. (In re Jevic Holding Corp.),
  496 B.R. 151, 161 (Bankr. D. Del. 2013) ............................................................23
Farrell v. Planters Lifesavers Co.,
  206 F.3d 271 (3d Cir. 2000) ...................................................................................6
Fields v. Thompson Printing Co., Inc.,
  363 F.3d 259 (3d Cir. 2004) ...................................................................................7
Hanover Potato Products, Inc. v. Shalala,
  989 F.2d 123 (3d Cir. 1993) ...................................................................................6
Hotel Employees & Restaurant Employees International Union Local 54 v.
  Elsinore Shore Associates,
  173 F.3d 175 (3d Cir. 1999) .................................................................................22
In re AE Liquidation, Inc.,
  522 B.R. 62 (Bankr. D. Del. 2014).......................................................................22
In re Mushroom Transp. Co., Inc.,
  382 F.3d 325 (3d Cir. 2004) ...................................................................................6
JN Contemporary Art, LLC v. Phillips Auctioneers LLC,
  2020 U.S. Dist. LEXIS 237085 (S.D.N.Y. Dec. 16. 2020) ..................................32
Marco v. Accent Pub. Co.,
  969 F.2d 1547 (3d Cir. 1992) .................................................................................6
Shelton v. Lemons,
  486 Fed.Appx. 395 (5th Cir. 2012) ......................................................................40
Simpson v. Panhandle S. Plains Fair Ass'n,
  2001 U.S. Dist. LEXIS 15080, (N.D. Tex. Aug. 9, 2001) ...................................40
Varela v. AE Liquidation, Inc. (In re AE Liquidation, Inc.),
  866 F.3d 515, 528 (3d Cir. 2017) .........................................................................22


OTHER AUTHORITIES

20 C.F.R. § 639.9 .....................................................................................................17
20 C.F.R. § 639.9(c).................................................................................................23
29 U.S.C. § 2101 ....................................................................................... 3, 7, 13, 15
29 U.S.C. § 2101(a)(1) .............................................................................................17
29 U.S.C. § 2102 ......................................................................................................17

                                                           v
DOCS_LA:344272.10 05233/003
29 U.S.C. § 2102(a) .................................................................................................17
29 U.S.C. § 2102(b)(2)(A) ................................................................................ 15, 20
29 U.S.C. § 2102(b)(2)(B) ............................................................................ 3, 15, 23
29 U.S.C. § 2102 ......................................................................................................17
29 U.S.C.§ 2102(b)(2)(A) ..........................................................................................3
29 U.S.C. § 2104 ......................................................................................................17
Fed. R. Civ. P. 56(a).................................................................................................16
Fed.R.Evid. 201 .......................................................................................................10
Fed.R.Evid. 201(b) ...................................................................................................10




                                                           vi
DOCS_LA:344272.10 05233/003
        Alfred T. Giuliano, Chapter 7 Trustee (the “Trustee”) to Art Van Furniture,

LLC (“AVF”), Sam Levin, Inc. (“SLI”) and related debtors (collectively, the

“Debtors” or “Art Van”) submits this Answering Brief to the Opening Brief (the

“Opening Brief”) submitted by the above-captioned Appellants (“Appellants” or

“Plaintiffs”), in Appellants’ appeal from the final order of the United States

Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), set forth

in its Opinion and Order filed on March 21, 2022 [Adv. D.I. 63 & 64] (Appendix

A001693-A001721 and A001722, respectively) (the “Opinion” or “Order”).1

                              I.   PRELIMINARY STATEMENT
        Notwithstanding Appellants’ generalized claims of need for more discovery,

their irrelevant distractions (including unsubstantiated claims that the Debtors’ board

might have had some nefarious goal or was incompetent regarding the Layoff

(defined below)) set forth in dozens of pages of the Opening Brief, the necessary

judicial analysis in this appeal is straightforward.

        Importantly, the relevant material facts are not in dispute, as found by the

Bankruptcy Court. On March 5, 2020 -- after months of negotiations with secured



1
  All citations herein to “Adv. D.I. __” refer to the adversary proceeding docket in
Adversary Number 20-50548 (CSS). All citations to “Bankr. D.I. __” refer to the
Debtors’ lead Chapter 11 Case, Case No. 20-10553 (CSS). The Opinion is reported
at Stewart v. Art Van Furniture, LLC (In re Art Van Furniture, LLC), 638 B.R. 523
(Bankr. D. Del. 2022), and all references to the Opinion will be made herein to the
reported case.


DOCS_LA:344272.10 05233/003
lenders and attempts to locate alternative financing, the Debtors, who operated retail

furniture stores for over half a century, publicly announced that they were going out

of business and began implementing a planned liquidation that involved: (i)

conducting going-out-of-business sales in certain stores (the “GOB Sales”); (ii)

consummating a sale of certain stores and related assets to a third party and; (iii)

filing chapter 11 bankruptcy proceedings to facilitate the foregoing orderly

liquidation process. As part of this liquidation process, also on March 5, 2020, the

Debtors issued a notice pursuant to the Worker Adjustment and Retraining

Notification Act, 29 U.S.C. § 2101 et seq. (the “WARN Act”), advising “affected

employees” (including Appellants) who worked in or reported to seven facilities in

Michigan, two facilities in Illinois and one in Pennsylvania (the “WARN

Locations”) that their last day of employment would be on or about May 5, 2020.

Three days later, on March 8, 2020, the Debtors filed petitions under chapter 11 of

title 11 of the United States Code (the “Bankruptcy Code”).

        Over the next 11 days in March 2020, the unprecedented pandemic stemming

from the COVID-19 virus made the Debtors’ planned liquidation impossible. The

extraordinary adverse effects during this period (social, economic, and business)

caused by the COVID-19 pandemic, confronting the Debtors and many other




                                          2
DOCS_LA:344272.10 05233/003
businesses, are a matter of public record.2 Among other signs of the escalation of

the pandemic, on March 13, 2020, then-President Donald Trump declared a national

emergency,3 and less than a week later, on March 19, 2020, Pennsylvania became

the first of the four states in which the Debtors’ major retail and fulfillment

operations were located to issue a “stay at home” or “shelter in place” type order.

Similar orders soon followed in Michigan, Ohio and Illinois, all of which also were

in lock-down by March 23, 2020.4




2
 See Declaration of Bradford Sandler [Adv. D.I. 46] (Appendix A000435-A001427)
(the “Sandler Declaration”), Exhibits L to S attached thereto (Appendix AB_00046-
AB_0001038).
3
See Sandler Declaration, Exhibit L attached thereto (Appendix AB_000817 –
AB_000819).
4
  See Sandler Declaration, Exhibit P attached thereto (Pennsylvania: Gov. Tom
Wolf, Executive Order, dated March 19, 2020, available at
https://www.governor.pa.gov/wp-content/uploads/2020/03/20200319-TWW-
COVID-19-business-closure-order.pdf        (Appendix     AB_00080-AB_000832);
Exhibit Q (Michigan: Gov. Gretchen Whitmer, Executive Order 2020-21 (COVID-
19),         dated        March         23,       2020,        available     at
https://www.michigan.gov/whitmer/0,9309,7-387-90487-522625--,00.html
(Appendix AB_000833-AB _000836); Exhibit R (Ohio: Dir. of Public Health, Amy
Acton, Stay at Home Order, dated March 22, 2020, available at
https://content.govdelivery.com/attachments/OHOOD/2020/03/22/file_attachments
/1407840/Stay%20Home%20Order.pdf (Appendix AB_000837-AB_000849);
Exhibit S (Illinois: Gov. JB Pritzker, Executive Order in Response to COVID-19
(COVID-19 Executive Order No. 8), dated March 20, 2020, available at
https://www2.illinois.gov/IISNews/21288-
Gov._Pritzker_Stay_at_Home_Order.pdf (Appendix AB_000850-AB_000861).


                                        3
DOCS_LA:344272.10 05233/003
        It was against this undisputed factual backdrop that on March 19, 2020, with

no ability to fund operations during a mandated closure of non-essential businesses

of then-undetermined length, that the Debtors made the decision to discontinue the

GOB Sales and immediately end store operations and issued a revised WARN Act

notice to Appellants advising them that their employment would end on or about

March 20, 2020 (the “Layoff”).5

        As the Bankruptcy Court found, COVID-19 caused the March 20, 2020

Layoff. Accordingly, the Bankruptcy Court granted summary judgment in favor of

the Trustee, concluding that the estates were not liable to Appellants for violations

of the WARN Act pursuant to (i) 29 U.S.C. § 2102(b)(2)(A) (the “UBC Exception”)

and (ii) 29 U.S.C. § 2102(b)(2)(B) (the “Natural Disaster Exception”). For the

reasons set forth herein, this Court should affirm.

        Specifically, notwithstanding Appellants’ claim that the Bankruptcy Court

erred by not allowing more discovery in the Adversary Proceeding, as discussed

herein, all relevant, material facts are undisputed and the necessary judicial analysis

in the instant appeal is straightforward.     The WARN Act’s relevant statutory



5
 Note that the Trustee contends that the Debtors had no obligation to issue this
March 19, 2020 notice as they were not “employers” under the WARN Act on that
date. They were instead “liquidating fiduciaries” which are not subject to the
WARN Act’s notice requirements. See Cross-Appellants’ Opening Brief [Docket
No. 9], Civil Action No. 22-cv-489 (CFC) (AB_0001362-AB_0001391).


                                          4
DOCS_LA:344272.10 05233/003
language is plain and broad and should be reasonably and flexibly read and applied,

with common sense and logic.6 The Bankruptcy Court did not abuse its discretion

in ruling that no further evidence was needed to grant summary judgment to the

Trustee on the Natural Disaster Exception and the UBC Exception to the WARN

Act.

        For the purposes of the WARN Act, as a matter of policy, and based on the

statutory text and well-reasoned case law, there should be no liability because the

Layoff was caused by the COVID-19 pandemic – a natural disaster as well as an

unforeseeable business circumstance. A government-required shutdown of non-

essential businesses (as ordered in the relevant states during the time of the Layoff)

is a shutdown, period. In short, the rapid, unforeseeable escalation of the pandemic

beginning in March 2020 and the restrictions on economic and other activity that

various state and local governments determined to be necessary to slow the spread

of the COVID-19 disease forced the Debtors to immediately close all of their stores

and terminate their store workers – a scenario they had not and could not have

planned for when they developed their Planned Liquidation Process.7 No amount of

additional discovery will change this.



6
  See, e.g., Namphy v. DeSantis, 493 F. Supp. 3d 1130, 1144 (N.D. Fla. 2020) (court
is not required to “check its common sense at the door”).
7
    Conversion Motion at ¶¶ 1-2.

                                          5
DOCS_LA:344272.10 05233/003
        Based on the foregoing and the reasons set forth below, the Bankruptcy

Court’s Opinion and Order granting summary judgment to the Trustee should be

affirmed.

                              II.   STANDARD OF REVIEW

        This appeal involves review of the Bankruptcy Court’s grant of summary

judgment, a purely legal determination governed by a de novo standard of review.

American Flint Glass Workers Union v. Anchor Resolution Corp., 197 F.3d 76, 80

(3d Cir. 1999). The District Court assesses the record using the same standards for

summary judgment employed by the Bankruptcy Court. In re Mushroom Transp.

Co., Inc., 382 F.3d 325, 335 (3d Cir. 2004) (citing Farrell v. Planters Lifesavers Co.,

206 F.3d 271, 278 (3d Cir. 2000)). A Bankruptcy Court abuses its discretion when

its ruling is founded on a clearly erroneous finding of fact, an error of law, or a

misapplication of law to the facts. Marco v. Accent Pub. Co., 969 F.2d 1547, 1548

(3d Cir. 1992); Hanover Potato Products, Inc. v. Shalala, 989 F.2d 123, 127 (3d Cir.

1993).

        Summary judgment is appropriate where the moving party can demonstrate

“that there is no genuine issue as to any material fact and the moving party is entitled

to judgment as a matter of law.” Fed. R. Civ. P. 56(c). Appellant is entitled to the

evidence in the light most favorable to the non-movant, “draw[ing] all reasonable




                                           6
DOCS_LA:344272.10 05233/003
inferences in favor of the non-moving party.” Fields v. Thompson Printing Co., Inc.,

363 F.3d 259, 265 (3d Cir. 2004).

                              III.   STATEMENT OF THE CASE

A.      General Background

        Prior to March 8, 2020 (the “Petition Date”), the Debtors had sold furniture

for over 60 years, with 169 stores in Michigan, Indiana, Ohio, Illinois, Pennsylvania,

Maryland, Missouri, and Virginia, and approximately 4,500 employees.8

        On the Petition Date, Art Van Furniture, LLC (“AVF”), Sam Levin, Inc.

(“SLI”) and the other related above-captioned debtors (collectively, the “Debtors”

or “Art Van”) commenced their respective voluntary cases under chapter 11 of the

Bankruptcy Code (the “Chapter 11 Cases”) to continue liquidating substantially all

of their assets, an effort which had started before the Petition Date. Upon the

Debtors’ motion (the “Conversion Motion”), based on the facts and circumstances

described further below, on April 6, 2020, less than a month after the Petition Date,

the Chapter 11 Cases were converted to chapter 7 proceedings (the “Cases”).

        The Debtors filed the Chapter 11 Cases with the express intention of winding

down their affairs by liquidating their inventory through store closing sales (the



8
 Declaration of David Ladd, Executive Vice President and Chief Financial Officer
of Art Van Furniture, LLC, in Support of Chapter 11 Petitions and First Day Motions
[Bankr. D.I. 12] (“Ladd Declaration”) at 2 (Appendix AB_0001079-AB_0001290).


                                             7
DOCS_LA:344272.10 05233/003
“GOB Sales”), paying down their secured debt, and using any remaining proceeds

of their GOB Sales to wind-down their operations.9 In addition, as of the Petition

Date, the Debtors were party to a binding letter of intent for a sale of 44 Levin and

Wolf stores and related assets and operations to a third party buyer. The GOB Sales,

the Levin Sale (as defined and described below), and other actions taken by the

Debtors in the Chapter 11 Cases were all part of the orderly liquidation and wind-

down started by the Debtors before and continuing after the Petition Date (the

“Planned Liquidation Process”) to maximize the liquidation value of the estates’

assets and the recoveries for the Debtors’ creditors.10

B.       The Planned Liquidation Process

         In the months leading up to the Petition Date, Art Van struggled under the

weight of poor sales and $208.5 million in secured debt encumbering substantially

all of its assets made up of: (i) $33.5 million in an asset-backed loan (“ABL Loan”)

from Wells Fargo Bank (“Wells Fargo”) and (ii) a $175 million term loan from FS

KKR Capital Corp.11 Art Van defaulted on the ABL Loan on February 5, 2020 and

had only been able to obtain a forbearance from Wells Fargo through February 28,

2020, giving it 23 days to find a buyer, an investor or a means of recapitalizing the


9
    Ladd Declaration at ¶¶ 6 & 18.
10
     Ladd Declaration at ¶¶ 6, 16, 17, 18, 19, 20, 40, 41, 42 & 43.
11
     See Ladd Declaration at ¶¶ 7, 8, 13, 14, 16, 17, 18, 31-36.


                                             8
DOCS_LA:344272.10 05233/003
business. As a condition to the forbearance, Wells Fargo insisted that the Debtors

begin preparing for GOB sales. 12

         In spite of the Debtors’ efforts over the next 23 days in February 2020, by

February 28, 2020, the Debtors were unable to secure financing or attract a going

concern buyer.13 The forbearance period ended on that date, and the Debtors had no

alternative but to commence an orderly wind-down of their operations and liquidate

their assets.14 To that end, before the Petition Date, the Debtors negotiated a wind-

down budget with Wells Fargo (“Wind-Down Budget”), hired a liquidator, and

announced publicly that after decades of operations, they were going out of

business.15




12
     See Ladd Declaration at ¶¶ 14 & 36.
13
 See Transcript of March 10, 2020 hearing, at p. 55, line 25 to 57, line 20 (Appendix
A000530-A000532); Ladd Declaration at ¶¶ 14-15.
14
     See Ladd Declaration at ¶¶ 16-18.
15
  See Ladd Declaration at ¶¶ 16-18; Interim Order (I) Authorizing the Debtors to
Use Cash Collateral, (II) Granting Adequate Protection to the Prepetition Secured
Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and
(V) Granting Related Relief [Bankr. D.I. 93] (the “Interim CC Order”) at 13
(Appendix A000238-A000302). On March 5, 2020, the Debtors entered into an
agreement (the “Consulting Agreement”) with HilcoMerchant Resources, LLC (the
“Liquidator”) (Appendix A001084-A001123). See Interim CC Order at 12. See also
“Art Van Furniture to close all stores, including 24 in Illinois,” Chicago Tribune,
March 5, 2020, available at https://www.chicagotribune.com/business/ct-biz-art-
van-shutting-down-20200305-2efw2ukfk5g2dfpzgooebjv7ry-story.html (Appendix
A000776-A000779) (“Art Van GOB Press Release”).

                                           9
DOCS_LA:344272.10 05233/003
        As part of the Planned Liquidation Process, on March 4, 2020, SLI entered

into a letter agreement (the “Levin LOI”) pursuant to which it agreed to liquidate

certain stores (most of which were in Pennsylvania), two distribution centers and

certain other assets (the “SLI Assets”) by a sale to Robert Levin (the “Levin Sale”).

The Levin Sale was expected to be approved in bankruptcy and consummated in or

about early April 2020. Because the Debtors had no money to operate these stores

(they only had the money that Wells Fargo had agreed to let them use to conduct the

GOB Sales), Robert Levin agreed to extend $10 million of debtor-in-possession

(DIP) financing to SLI (the “Levin DIP Loan”) to facilitate the bankruptcy process

to allow for the Bankruptcy Court’s approval of the Levin Sale, which $10 million

then would be repaid with and deducted from the sales proceeds of the Levin Sale.16

        In sum, as of March 5, 2020, the Debtors had put into place an orderly full

business liquidation process, comprised of the GOB Sales to liquidate AVF’s assets

including 125 stores and the Levin Sale to liquidate the SLI Assets. On that same

day, Art Van publicly announced that it was liquidating and going out of business,17



16
  See Levin DIP Motion; Interim Order on Levin DIP Motion [Bankr. D.I. 137]
(“Interim Levin DIP Order”).
17
  Indeed, Appellants have acknowledged and admitted that the Debtors began their
liquidation plan at this time. See Class Action Adversary Proceeding Complaint For
Violation of WARN Act 29 U.S.C. § 2101, et seq. [Adv. Docket No. 1] (the
“Complaint”) (Appendix AB_0001-AB_00011_), at ¶ 25 (“… Debtors began to
execute on its planned liquidation.”).


                                         10
DOCS_LA:344272.10 05233/003
and on March 5, 2020, as part of its Planned Liquidation Process, although not

required, AVF issued a WARN Act notice to approximately 1,400 potentially

“affected employees” who worked in or reported to the WARN Locations. Each of

the Plaintiffs who worked at an affected location in Michigan were notified as

follows:

        Art Van Furniture, LLC (the “Company”) has made the difficult
        decision to wind-down its operations, which will include the closure
        of its facilities located at 6500 E 14 Mile Rd, Warren, MI, 48092;
        27775 Novi Rd, Novi, MI, 48377; 4375 28th St SE, Grand Rapids,
        MI,49321; 4095 E Court St, Burton, MI, 48509; 14055 Hall Rd,
        Shelby Township, MI, 48315; 8748 W Saginaw Hwy, Lansing, MI,
        48917; and 4273 Alpine Ave Nw Ste B, Alpine, MI, 49321, and will
        be permanently terminating the employment of all employees at these
        locations.
        The Company submits this notice to you to satisfy any obligation that
        may exist under the federal Worker Adjustment and Retraining
        Notification Act, 29 U.S.C. § 2101 et seq. (the “WARN Act”). If no
        obligations exist, this notice is being provided to you voluntarily.
        All terminations of employment will be permanent and you will not
        have bumping rights for other positions (i.e., you will not have the
        right to displace employees with less seniority). While an exact date
        has not yet been established for these closures, it is anticipated that
        your employment with the Company will terminate on May 5, 2020
        or a date within 14 days thereafter which may be provided to you by
        the Company (your “Termination Date”). Nothing in this letter alters
        your at-will employment status with the Company.
        You will be required to work through your Termination Date,
        following which date you will not be required to report to work or
        provide any services to the Company.




                                           11
DOCS_LA:344272.10 05233/003
(the “GOB Sale WARN Notice”) (Appendix AB_0001392).18

         The Debtors’ target date to end the GOB Sales was the end of April 2020.19

The GOB Sales commenced as expected, and went well at first.20

C.       The Filing of the Chapter 11 Cases and the Rapid Escalation of the
         Pandemic Resulting in the Layoff
         On the Petition Date, the Debtors filed their Chapter 11 Cases and filed “first

day motions” to obtain approval of, inter alia, the Wind-Down Budget,21 the Levin

DIP,22 and GOB Sales and the Consulting Agreement with the Liquidator.23 On

March 11, 2020, the Bankruptcy Court entered an interim cash collateral order,


18
   Notably, given how transparent and proactive Art Van was from early on in
informing its employees and the public and other parties in interest of Art Van’s
liquidation and wind-down, it cannot be credibly argued that the Debtors were
engaged in gamesmanship to avoid any legitimate WARN Act liabilities.
19
  See Ladd Declaration at ¶ 18 (Debtors seeking to complete store closure sales in
six to eight weeks from March 5, 2020).
20
 Corrected Motion for Entry of Order Converting Their Chapter 11 Cases to Cases
Under Chapter 7 [Bankr. D.I. 252] (Appendix A000304-A000333) (the
“Conversion Motion”) at ¶ 22.
21
  See Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the
Debtors to Use Cash Collateral, (II) Granting Adequate Protection to the
Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a
Final Hearing, and (V) Granting Related Relief [Bankr. D.I. 5] (Appendix A000908-
A000934).
22
     See Levin DIP Motion; Interim Levin DIP Order.
23
  See Debtors’ Motion for Entry of Interim and Final Orders (I) Approving
Procedures for Store Closing Sales, (II) Authorizing Customary Bonuses to
Employees of Closing Stores; (III) Authorizing Assumption of Consulting Agreement
and (IV) Granting Related Relief [Bankr. D.I. 52] (Appendix A000110-A000237).


                                            12
DOCS_LA:344272.10 05233/003
authorizing the Debtors to use cash collateral in accordance with the Wind-Down

Budget until April 7, 2020 (unless terminated earlier due to default or entry of a final

order) to conduct the GOB Sales. The Wind-Down Budget assumed that the GOB

Sales would continue unabated through April 30, 2020, and provided that “the failure

by the Debtors to continue sales of the Assets in accordance with the Consulting

Agreement and to assume the Consulting Agreement on a timely basis” is a default,

and thus, the Debtors continued their ongoing GOB Sales.24

         As found by the Bankruptcy Court, the Debtors’ Planned Liquidation Process

quickly became derailed by the pandemic’s escalation in mid-March 2020. In

addition to the U.S. President declaring a national emergency on March, 13, 2020

(as noted above), on March 14, 2020, Governor Tom Wolf of Pennsylvania, where

25 of the Debtors’ stores and two of their distribution centers were located, had

issued guidance urging all non-essential businesses to close.25 Two days later,

Governor Wolf amplified that guidance, declaring: “The Wolf Administration is




24
     Interim CC Order at pp. 34-35.
25
   Wolf Administration Issues Guidance to Non-Essential Businesses as Part of
COVID-19        Mitigation    Efforts,   March     14,     2020,  available  at
https://dced.pa.gov/newsroom/wolf-administration-issues-guidance-to-non-
essential-businesses-as-part-of-covid-19-mitigation-efforts/          (Appendix
AB_0001358-AB_0001359).


                                          13
DOCS_LA:344272.10 05233/003
relying on businesses to act now before the governor or the Secretary of Health finds

it necessary to compel closures under the law for the interest of public health ….”26

           Similarly, on March 16, 2020, Governor Gretchen Whitmer of Michigan --

where the Debtors’ headquarters, their main distribution center, and 82 of their stores

were located -- entered an executive order that closed Michigan’s bars, theaters,

casinos and other public spaces.27 Governor Whitmer urged Michigan residents to

“mak[e] smart choices” by “not putting [themselves] or others at risk by going out

in public unless it is absolutely necessary.” 28

           Then, on March 19, 2020, Pennsylvania became the first of the four states in

which the Debtors’ major retail and fulfillment operations were located to issue a

“stay at home” or “shelter in place” type order. Similar orders soon followed in




26
  All Non-Life-Sustaining Businesses in Pennsylvania to Close Physical Locations
As of 8 PM Today to Slow Spread of COVID-19, March 19, 2020, available at
https://www.governor.pa.gov/newsroom/all-non-life-sustaining-businesses-in-
pennsylvania-to-close-physical-locations-as-of-8-pm-today-to-slow-spread-of-
covid-19/ (Appendix AB_0001360-AB_0001361).
27
  Governor Whitmer Signs Executive Order Temporarily Closing Bars, Theaters,
Casinos, and Other Public Spaces; Limiting Restaurants to Delivery and Carry-Out
Orders, March 16, 2020, available at https://www.michigan.gov/whitmer/0,9309,7-
387-90499_90640-521763--,00.html (Exh. O to Sandler Declaration) (Appendix
AB_000833-AB_000836).
28
     Id.


                                            14
DOCS_LA:344272.10 05233/003
Michigan, Ohio and Illinois, all of which also were in lock-down by March 23,

2020.29

         Further, on March 19, 2020, the proposed purchaser for the Levin Sale

notified the Debtors that they would not proceed with the transaction, and thus, the

stores covered by the Levin Sale would also have to be immediately closed by the

Debtors.30

         Ultimately, the substantial, unprecedented restrictions on business and other

activity that numerous state and local governments determined to be necessary to

slow COVID-19’s spread forced the Debtors to discontinue all retail operations and

immediately shut down their stores – an outcome the Debtors had not and could not



29
   Pennsylvania: Gov. Tom Wolf, Executive Order, dated March 19, 2020, available
at     https://www.governor.pa.gov/wp-content/uploads/2020/03/20200319-TWW-
COVID-19-business-closure-order.pdf (Ex. P to Sandler Declaration) (Appendix
AB_000830-AB_000832); Michigan: Gov. Gretchen Whitmer, Executive Order
2020-21       (COVID-19),     dated    March    23,    2020,     available    at
https://www.michigan.gov/whitmer/0,9309,7-387-90487-522625--,00.html (Ex. Q
to Sandler Declaration) (Appendix AB_000833-AB_000836); Ohio: Dir. of Public
Health, Amy Acton, Stay at Home Order, dated March 22, 2020, available at
https://content.govdelivery.com/attachments/OHOOD
/2020/03/22/file_attachments/1407840/Stay%20Home%20Order.pdf (Ex. R to
Sandler Declaration) (Appendix AB_000837-AB_000849); and Illinois: Gov. JB
Pritzker, Executive Order in Response to COVID-19 (COVID-19 Executive Order
No.        8),      dated      March       20,     2020,      available       at
https://www2.illinois.gov/IISNews/21288-
Gov._Pritzker_Stay_at_Home_Order.pdf (Ex. S to Sandler Declaration) (Appendix
AB_000837-AB_000849).
30
     Conversion Motion at ¶ 26.


                                           15
DOCS_LA:344272.10 05233/003
have planned for when they developed their Planned Liquidation Process.31 Thus,

on March 19, 2020, the Debtors made the painful decision to suspend all sales

operations in all stores and terminate the majority of their employees, excluding

workers who would be needed for the rest of the liquidation and wind-down

process.32

         Accordingly, on March 19, 2020, AVF issued a revised WARN Act notice to

employees which stated:

         On March 5, 2020, Art Van Furniture, LLC (the “Company”) informed
         employees that it had made the difficult decision to wind-down its
         operations, to include the closure of its retail facilities located at 6500
         E 14 Mile Rd, Warren, MI, 48092; 27775 Novi Rd, Novi, MI, 48377;
         4375 28th St SE, Grand Rapids, MI, 49321; 4095 E Court St, Burton,
         MI, 48509; 14055 Hall Rd, Shelby Township, MI, 48315; 8748 W
         Saginaw Hwy, Lansing, MI, 48917; and 4273 Alpine Ave Nw Ste B,
         Alpine, MI, 49321, which would in the permanent termination the
         employment of all employees at these locations.

         Since initial notice, the Company has been impacted by the novel
         COVID-19 virus and the resulting, and sudden, negative economic
         impact. Due to these unforeseen events, the Company can no longer
         support the wind-down of its retail operations through the originally
         projected termination date. The Company, therefore, submits this
         revised notice to you to satisfy any obligation that may exist under the
         federal Worker Adjustment and Retraining Notification Act, 29
         U.S.C. § 2101 et seq. (the “WARN Act”).

         All terminations of employment will be permanent and you will not
         have bumping rights for other positions (i.e., you will not have the right
         to displace employees with less seniority). The employment of Art
         Van’s sales associates and other commissioned employees, visuals,
31
     Conversion Motion at ¶¶ 1-2.
32
     Conversion Motion at ¶ 25.

                                             16
DOCS_LA:344272.10 05233/003
         housekeepers, drivers, helpers, and other hub warehouse staff, Selling
         Managers and Outlet Managers as well as any Sales or Store Manager
         who is not scheduled to perform services on March 21, 2020 or March
         22, 2020, will be terminated on March 20, 2020. All CPU’s and office
         staff, along with the Store Manager and/or Sales Manager scheduled to
         work on March 21, 2020 or March 22, 2020 will be terminated at the
         end of the business day on March 22, 2020. Nothing in this letter alters
         your at-will employment status with the Company. You will be
         required to work through your Termination Date, following which date
         you will not be required to report to work or provide any services to the
         Company.
(the “COVID WARN Notice”) (Appendix AB_0001392) (emphasis added).

         Wells Fargo declared a default under the Interim CC Order, and terminated

use of cash collateral as of March 24, 2020; later extended through March 31 and

finally April 6, 2020.33 Unable to continue the Chapter 11 Cases without the

continued consent of the Debtors’ secured lenders to use their cash collateral, the

Debtors filed the Conversion Motion and the Chapter 11 Cases were converted to

chapter 7 proceedings pursuant to an order entered on April 6, 2020.34 In ruling on

the Conversion Motion, Judge Sontchi stated:

         This case is very unfortunate. It’s really been a parade of unfortunate
         events that has kind of conspired to put a long-standing, solid business
         into liquidation. And, as I sit here today, I certainly don’t have enough
         information to blame anyone or anything other than the coronavirus
         and the disaster it has left in its wake.35

33
     Conversion Motion at ¶ 27.
34
  See Order Granting Debtor’s Amended Motion to Convert [Bankr. D.I. 263]
(Appendix A001344-A001349) (“Conversion Order’).
35
 See Transcript of April 6, 2020 Hearing, at 28, line 24 to p. 29, line 5 (Appendix
A001378-A001379).

                                             17
DOCS_LA:344272.10 05233/003
        Upon the conversion, Alfred Giuliano was appointed as the chapter 7 trustee

[Bankr. D.I. 264] (Appendix A000334).

D.      The Adversary Proceeding and the Bankruptcy Court Ruling
        On March 23, 2020, Appellants initiated the adversary proceeding (the

“Adversary Proceeding”) by filing the Complaint (Appendix A000335-A000345) on

behalf of themselves and other allegedly similarly situated former employees in

which they assert that the Debtors violated the WARN Act. On November 12, 2021,

the Trustee filed his Motion for Summary Judgment [Adv. D.I. 43 & 44] (Appendix

AB_00012-AB_00013 and AB_00014-AB_00045, respectively). On March 21,

2022, the Bankruptcy Court issued its Opinion and Order, pursuant to which the

Bankruptcy Court granted the Trustee’s SJ Motion, specifically ruling that (i) the

“liquidating fiduciary” exception under the WARN Act does not apply to the instant

case; (ii) the UBC Exception applies; and (iii) the COVID-19 pandemic falls within

the Natural Disaster Exception.

        Appellants appealed the Opinion and Order on or about April 4, 2022 [Adv.

D.I. 66] (Appendix AB_0001069-AB_0001073). The Trustee filed his Notice of

Cross-Appeal pursuant to 28 U.S.C. § 158(a) and Bankruptcy Rules 8001 and 8002

[Adv. D.I. 72] (Appendix AB_0001074-AB-0001078). The Trustee cross-appealed

only that portion of the Opinion that found that the “liquidating fiduciary” exception

does not apply to the facts set forth in the Adversary Proceeding and the Order only


                                         18
DOCS_LA:344272.10 05233/003
to the extent it incorporated that portion of the Bankruptcy Court’s Opinion holding

that the “liquidating fiduciary” exception to alleged WARN Act liability was

inapplicable. See 638 B.R. at 533-36.

                              III.   SUMMARY OF ARGUMENT36

        First, the Bankruptcy Court did not abuse its discretion in entering summary

judgment for the Trustee on the WARN Act’s Natural Disaster and UBC Exceptions

before Appellants had the opportunity to conduct further discovery. Second, the

Bankruptcy Court did not err in finding that the WARN Act’s Natural Disaster

Exception and UBC Exception excused Art Van from complying with the WARN

Act’s 60-day notice requirement.

        As discussed herein, as ruled by the Bankruptcy Court, all relevant, material

facts are undisputed. Indisputably, the COVID-19 pandemic was an unprecedented,

unpredictable major public health emergency in the United States, with many

unknowns at the relevant times (such as how long the next business shutdown would

be and the adverse extent thereof). The Bankruptcy Court did not abuse its discretion

in ruling that no further evidence was needed to grant summary judgment to the

Trustee.




36
  Capitalized terms used but not defined in this Summary of Argument have the
meanings ascribed to them in the balance of this brief, and all facts adverted to herein
are supported by record citations in the balance of this brief.

                                            19
DOCS_LA:344272.10 05233/003
        The Bankruptcy Court properly granted summary judgment to the Trustee

because, as discussed below, the Debtors are not subject to WARN Act liability

because: (1) assuming arguendo the Debtors were “employers” subject to the

WARN Act as of the date of the Layoff, the UBC Exception applies because of their

inability to conduct their Court-approved post-petition GOB Sales as a result of

COVID-19 and the unprecedented governmental issuance of orders requiring

businesses to shut down and people to shelter in place; and (2) the Natural Disaster

Exception applies because the Layoff was clearly and unequivocally caused by

COVID-19, a natural disaster.

                                  IV.   ARGUMENT

A.      The Unprecedented COVID-19 Pandemic and the Attendant Immediate
        Governmental Shutdown of Non-Essential Businesses Including the
        Debtors’ Stores and the Mandated “Stay at Home” Orders Were “Not
        Reasonably Foreseeable” and Thus, the UBC Defense Applies and the
        Debtors Were Not Subject to the 60-Day Notice Provisions of the
        WARN Act.

        The COVID-19 pandemic was a circumstance that was not reasonably

foreseeable during the 60-day period prior to the Layoff. As a matter of law, the

Debtors therefore cannot be held liable for failure to provide 60 days’ notice of the

Layoff.       Specifically, 29 U.S.C. § 2102(b)(2)(A) provides that “[a]n employer may

order a plant closing or mass layoff before the conclusion of the 60-day period if the

closing or mass layoff is caused by business circumstances that were not

reasonably foreseeable as of the time that notice would have been required.” 29

                                           20
DOCS_LA:344272.10 05233/003
U.S.C. § 2102(b)(2)(A) (emphasis added). Importantly, the UBC exception is not

narrowly construed in favor of employees. See, e.g., In re AE Liquidation, Inc., 556

B.R. 609, 617-18 (D. Del. 2016), aff'd, 866 F.3d 515 (3d Cir. 2017); In re Jevic

Holding Corp., 496 B.R. 151, 163 n.36 (Bankr. D. Del. 2013) (noting that while

Department of Labor requires “faltering company” exception be narrowly construed,

there is no such requirement for UBC exception); see also 54 Fed. Reg. 16,061

(1996) (“The Department has reviewed the legislative history and agrees it may not

[be] appropriate to say that the unforeseeable business circumstances . . . exception[]

should be narrowly construed.”). Further, courts evaluate the UBC exception

objectively, at the time the decisions were made, and not with the benefit of 20/20

hindsight. See AE Liquidation, 556 B.R. at 618; Jevic, 496 B.R. at 161; Watson v.

Mich. Indus. Holdings, Inc., 311 F.3d 760, 764 (6th Cir. 2002) (“In making this

determination, a reviewing court must be careful to avoid analysis by hindsight . .

.”).

        The Third Circuit Court of Appeals has established that, under the WARN

Act, a layoff becomes reasonably foreseeable when it becomes “probable” (more

likely than not) that it would occur; a clear probability of layoffs is necessary to

trigger the WARN Act notice requirement. Varela v. AE Liquidation, Inc. (In re AE

Liquidation, Inc.), 866 F.3d 515, 528 (3d Cir. 2017) (company had received

numerous assurances that funding for a transaction that would have allowed it to


                                          21
DOCS_LA:344272.10 05233/003
continue its operations was imminent, and thus, the company was entitled to invoke

the UBC Exception).37         See also Hotel Employees & Restaurant Employees

International Union Local 54 v. Elsinore Shore Associates, 173 F.3d 175 (3d Cir.

1999) (casino’s closure was not reasonably foreseeable and thus the UBC Exception

applied to excuse the casino’s failure to notify its employees prior to its being shut

down by the New Jersey Casino Control Commission).

        Further, as explained by Bankruptcy Judge Shannon:

        The Department of Labor’s (“DOL”) regulations state that “[a]n
        important indicator of a business circumstance that is not reasonably
        foreseeable is that the circumstance is caused by some sudden,
        dramatic, and unexpected action or condition outside the employer's
        control.” 20 C.F.R. § 639.9(b)(1). The DOL’s test for determining
        when business circumstances are not reasonably foreseeable focuses
        on an employer’s business judgment. The employer must exercise
        such commercially reasonable business judgment as would a similarly
        situated employer in predicting the demands of a particular market.
        The employer is not required, however, to accurately predict general
        economic conditions that also may affect demand for its products or
        services. Id. § 639.9(b)(2).




37
  Notably, the bankruptcy court in the proceedings below in AE Liquidation had
granted the trustee’s motion for summary judgment on the basis that the applicable
circumstance there was unforeseeable for purposes of WARN Act liability. In re AE
Liquidation, Inc., 522 B.R. 62 (Bankr. D. Del. 2014) (Judge Walrath). The
bankruptcy court’s decision was affirmed by the district court, and both decisions
were affirmed by the Third Circuit Court of Appeals in the afore-cited AE
Liquidation case.


                                          22
DOCS_LA:344272.10 05233/003
Czyzewksi v. Jevic Transp. Inc. (In re Jevic Holding Corp.), 496 B.R. 151, 161

(Bankr. D. Del. 2013) (Hon. B. Shannon) (emphasis added).38

        Based on the foregoing, the UBC Exception is applicable here. First, as

discussed further in Section B below, the COVID-19 pandemic was clearly the

immediate cause of the Debtors’ abrupt change-of-course determination to abandon

the Planned Liquidation Process and immediately shut down their business. The

pandemic and the unprecedented extent and effects thereof were sudden, dramatic

and outside the Debtors’ control, and made it impossible for the Debtors to continue

their GOB Sales post-petition as planned as the various governmental authorities

required non-essential businesses to close and people to stay at home or shelter in

place to limit the spread of COVID-19. The threat of infection, illness and death

from COVID-19 made customers stay away from the GOB Sales even prior to the

mandatory shut down orders, but regardless, as of March 19, 2020, Pennsylvania

had locked down, and Michigan would follow shortly thereafter.

        Moreover, on January 18, 2020 and thereafter (the 60-day period prior to the

Layoff), the Debtors could not reasonably have foreseen that the threat of infection

38
  See also JN Contemp. Art LLC v. Phillips Auctioneers LLC, 29 F.4th 118, 124-25
(2d Cir. 2022) (holding “the COVID-19 pandemic, coupled with the state
government’s orders restricting the activities of nonessential businesses, constitute
an occurrence beyond the parties’ reasonable control . . . . that cause large-scale
societal disruptions, are beyond the parties’ control, and are not due to the parties’
fault or negligence” which permitted defendant to terminate contract pursuant to
force majeure clause).

                                         23
DOCS_LA:344272.10 05233/003
and death from COVID-19 would be so profound that hundreds of millions of people

in the United States would be afraid to leave their homes, and governments would

be ordering the public to stay at home and closing non-essential businesses, such as

the Debtors’ stores, across the nation.

        In sum, as the Bankruptcy Court properly found and ruled:

        Here, it is undisputed that the Debtors were in dire financial straits
        leading up to the Chapter 11 filing. It is also undisputed that the
        Debtors filed Chapter 11 to pursue an orderly wind-down of operations
        and liquidation of their assets. On March 5, 2020, the Debtors provided
        the First WARN Notice to many of their employees, anticipating the
        winding-down of operations and permanent layoffs by May 5, 2020. It
        is also undisputed that in mid-March 2020, COVID-19 caused
        Pennsylvania, and then Michigan, and then other states where the
        Debtors operated, to issue “stay at home” or “shelter in place” orders.
        This unquestionably impacted the Debtors’ operations. The Debtors
        issued the Second WARN Notice as COVID-19 and the ensuing
        government-ordered shutdowns prevented the Debtors from operating
        and completing its anticipated wind-down plans.

        Given these undisputed facts, the Plaintiffs’ proffered evidence that
        COVID-19 was merely a pretext for the mass layoff is tenuous at best.
        Statements showing that the Debtors’ actions were unanticipated or
        resulted in greater financial distress do not indicate disputed facts
        concerning the cause of the layoff. Rather, those facts underscore that
        the impact of COVID-19 was sudden and unexpected to other parties
        as well as the Debtors….

        . . . . The undisputed facts support the finding that the COVID-19 was
        the proverbial “straw that broke the camel’s back” and caused the
        March 20, 2020 layoff. Even viewing all inferences in favor of the
        Plaintiffs, the Plaintiffs’ proffered evidence does not demonstrate
        disputed issues of material facts that cast doubt on that causation.




                                          24
DOCS_LA:344272.10 05233/003
Stewart v. Art Van, 638 B.R. at 538-39.39

        The Bankruptcy Court properly granted the Trustee summary judgment on the

basis of the UBC Exception, and this Court should affirm.

B.      The Bankruptcy Court Did Not Err in Finding the COVID-19
        Pandemic Directly Caused the Layoff for Purposes of the UBC
        Exception and Natural Disaster Exception.

        Appellants contend that the factual record below did not establish that

COVID-19 caused the Layoff. Opening Brief, pp. 34-35. This is incorrect.

        In Easom, the Fifth Circuit noted:

        [P]roximate case is not synonymous with sole cause. A proximate cause
        requirement merely “serves, inter alia, to preclude liability in situations
        where the causal link between conduct and result is so attenuated that
        the consequence is more aptly described as mere fortuity.”

Easom v. US Well Servs, 2022 U.S. App. LEXIS 16556 at *16 (quoting Paroline v.

United States, 572 U.S. 434, 444 (2014)).40 No one could reasonably describe the

causal link between the Layoff and COVID-19 and the government ordered shut-


39
  The Bankruptcy Court also rejected Appellants’ argument that the COVID WARN
Notice was insufficient to allow application of the UBC Exception, noting, “The
statement in the Second WARN Notice is brief, but that is what the statute requires.
The statement specifically mentions why the shortened notice was necessary - - that
the unforeseen effects of COVID-19 prevented the Debtors from completing the
planned wind-down of the retail operations. The notice is sufficient to pass muster.”
638 B.R. at 540.
40
  As discussed in Section C.2 hereof, the Fifth Circuit Court of Appeals in the Easom
case adopted a proximate causation standard for the Natural Disaster Exception,
however, as also discussed herein, the Fifth Circuit’s reasoning was flawed.


                                             25
DOCS_LA:344272.10 05233/003
downs and stay-at-home orders as “mere fortuity.” As was noted above in Section

A, the Bankruptcy Court determined that COVID-19 was the proximate cause of the

Layoff, citing all the necessary undisputed facts in the record and dismissing

Appellants’ unfounded suggestions, insinuations and speculation regarding the

Debtors’ board’s decision to implement the Layoff as not bearing on causation

itself.41

        In particular, Appellants’ assertions that attorneys made statements at the

hearing that were “contrary representations,” “hid” information, gave “false

impression[s],” had “inconsistencies” and “painted drastically different pictures of

business conditions” are not only unfounded and unsubstantiated, they are

completely undermined by the qualifications and reservations made by counsel at




41
   See Stewart v. Art Van, 638 B.R. at 538-39 (“On March 5, 2020, the Debtors
provided the First WARN Notice to many of their employees, anticipating the
winding-down of operations and permanent layoffs by May 5, 2020. It is also
undisputed that in mid-March 2020, COVID-19 caused Pennsylvania, and then
Michigan, and then other states where the Debtors operated, to issue ‘stay at home’
or ‘shelter in place’ orders. This unquestionably impacted the Debtors’ operations.
The Debtors issued the Second WARN Notice as COVID-19 and the ensuing
government-ordered shutdowns prevented the Debtors from operating and
completing its anticipated wind-down plans…. The undisputed facts support the
finding that the COVID-19 was the proverbial ‘straw that broke the camel’s back’
and caused the March 20, 2020 layoff. Even viewing all inferences in favor of the
Plaintiffs, the Plaintiffs’ proffered evidence does not demonstrate disputed issues of
material facts that cast doubt on that causation.”).


                                         26
DOCS_LA:344272.10 05233/003
the hearing, quoted by Appellants themselves in the Opening Brief.42 In short, as

made clear by Debtors’ counsel at the hearing, there were no agreements or deals in

place to potentially mothball the GOB Sales and possible sale of the Levin Stores to

another buyer. Debtors’ counsel simply made statements that some other outcome,

other than immediate shutdown and liquidation, might be possible.

        Appellants essentially assert that the Debtors’ determination to immediately

shut their stores and abandon the Planned Liquidation Process was a bad decision.

However, as explained by the Bankruptcy Court these baseless insinuations are

irrelevant to the causation analysis. See Stewart v. Art Van, 638 B.R. at 538-39 (“The

Plaintiffs’ argument that temporary furloughs could have been a better option for the

Debtors is not a factual dispute, but merely debating the Debtors’ actions in

hindsight. The Court should evaluate the UBC WARN Act exception objectively

and at the time the decisions were made. The undisputed facts support the finding

that the COVID-19 was the proverbial ‘straw that broke the camel’s back’ and

caused the March 20, 2020 layoff.”).


42
  See, e.g., Opening Brief, p. 25 (“Debtors’ counsel made ‘clear’ that ‘we are trying
to explore with our lenders and our other stakeholders … other options short of
outright liquidation.” (emphasis added)); p. 26 (quoting Debtors’ counsel: “So let
me just say then, conceptually, we are looking at the possibility of … going idle or
going into a state of dormancy for a period of time, and then the possibility then of
[other options]…. [There a number of scenarios under consideration … we are right
now, engaging in a dialogue with Wells Fargo and our term loan lenders to see if
there’s a way to pursue that alternative.” (emphases added)).


                                         27
DOCS_LA:344272.10 05233/003
        In sum, the Bankruptcy Court’s detailed findings that COVID-19 was the

proximate cause of the Layoff, for purposes of the UBC Exception, the Natural

Disaster Exception43 or otherwise, is sound, straightforward and supported by the

evidentiary record.

C.      The Debtors Were Not Required to Provide Any Notice Because the
        Layoff Was Due to the COVID-19 Pandemic -- a “Natural Disaster” For
        Purposes of the WARN Act.

        1.       The Pandemic Is a Natural Disaster
        The Debtors were not required to give any notice because the March 20, 2020

Layoff was “due to” the COVID-19 pandemic, which falls within the Natural

Disaster Exception to the WARN Act. 29 U.S.C. § 2102(b)(2)(B) provides: “No

Notice under this chapter shall be required if the plant closing or mass layoff is due

to any form of natural disaster, such as a flood, earthquake, or the drought currently

ravaging the farmlands of the United States” (emphasis added). While the statute

does not define “natural disaster,” the implementing regulations provide:

        The “natural disaster” exception in section 3(b)(2)(B) of WARN
        applies to plant closings and mass layoffs due to any form of a natural
        disaster. . . (1) Floods, earthquakes, droughts, storms, tidal waves or



43
  Contrary to Appellants’ assertions, logically and as a matter of policy, a natural
disaster need not destroy the employer’s infrastructure in order to be the direct cause
of a mass layoff. Generally, businesses need capital, labor, and customers, and a
disaster that effectively shuts down the business’s stores, restaurants or factories, for
an unknown period of time, is no less the cognizable cause of layoffs than a disaster
that destroys the business’s capital including infrastructure.

                                           28
DOCS_LA:344272.10 05233/003
        tsunamis and similar effects of nature are natural disasters under this
        provision.

20 C.F.R. § 639.9(c) (emphasis supplied).

        While Appellants devote several pages in their Opening Brief as to what

constitutes a “natural disaster,” an ordinary, logical reading of this statutory

exception resolves the issue. See Namphy v. DeSantis, 493 F. Supp. 3d 1130, 1144

(N.D. Fla. 2020) (court is not required to “check its common sense at the door”).

Notably, in the above-quoted statute, the phrase “any form of natural disaster” is

used, instead of simply “natural disaster” -- suggesting a very broad, flexible reading

of what type of occurrence qualifies (more so than if the statute simply stated “any

natural disaster”). See, e.g., United States v. Gonzales, 520 U. S. 1, 5 (1997) (the

word “any” demands a broad interpretation). Moreover, the non-exclusive list of

examples of forms of natural disaster in the WARN Act (floods, etc.) need not and

should not be read to materially limit what constitutes a natural disaster in this world,

as argued by Appellants. The WARN statute cites as one example of “any form of

natural disaster,” “the drought currently ravaging the farmlands of the United

States.”44 This reference highlights that certain then-current natural disasters were


44
  During 1988 and beyond, various parts of the United States were experiencing
exceptionally severe droughts which caused many billions of dollars in property
damage, as well as thousands of deaths resulting from the attendant heat waves. See,
e.g., Impact of the Drought on Prices and Production : Hearing Before the
Subcommittee on Economic Stabilization of the Committee on Banking, Finance,

                                           29
DOCS_LA:344272.10 05233/003
a focus of Congress and a specific impetus for the WARN Act, and a factor in

drafting the statutory list of examples. That the list is so tied to the then-current

events in 1988 (the year of enactment of the WARN Act) shows the limited, intended

utility of the list, as time lapses and other examples of natural disasters may occur

which should reasonably and logically be within the ambit of the natural disaster

exception.

        The COVID-19 pandemic was at all relevant times a “natural disaster.”

COVID-19 is a highly infectious disease caused by a virus that is spread from person

to person. COVID-19 is transmitted through a natural process, and the wide-scale

spreading of COVID-19 was a natural disaster.45 COVID-19 is mainly spread

between people who are in close contact with one another and through respiratory




and Urban Affairs, House of Representatives, 100th Congress, 2nd Session, July 6,
1988,    available   at   https://fraser.stlouisfed.org/title/impact-drought-prices-
production-836.
45
   It is simply irrelevant for adjudicating the issues in this matter whether the
COVID-19 virus was created or manipulated in a lab somewhere or it stemmed from
bats or other animals in China. The main goal of WARN is to give fair notice to
workers under the circumstances, and the natural disaster exception broadly and
logically recognizes that no or less notice may be reasonably required of an employer
in the face of an outside, massive biological event like the COVID-19 pandemic that
suddenly and unexpectedly harms the employer and its assets (such as stores subject
to government shutdowns) or resources (including workers who are ill or decide not
to come to work because of the health risks). See, e.g., “nature,” Merriam-Webster
Dictionary (2022) (“nature” defined as “the external world in its entirety”), available
at https://www.merriam-webster.com/dictionary/nature.


                                          30
DOCS_LA:344272.10 05233/003
droplets landing in the mouths or noses of, or inhaled by, people nearby, produced

when an infected person coughs or sneezes. The COVID-19 pandemic has been a

devastating event for the United States.      Given the severity and extent of the

COVID-19 pandemic, as discussed herein, starting in March 2020, the World Health

Organization, various states and then-President Trump declared the pandemic to be

a major public health emergency. Based on these indisputable facts and a plain,

common sense reading of the statutory language, it cannot be reasonably argued that

the COVID-19 pandemic was somehow not a “natural disaster.”46


46
   Various cases from outside the WARN Act context support the Bankruptcy
Court’s determination that COVID-19 was a natural disaster, demonstrating the
ordinary, broad understanding of what constitutes natural disasters. See, e.g., JN
Contemporary Art, LLC v. Phillips Auctioneers LLC, 2020 U.S. Dist. LEXIS 237085
(S.D.N.Y. Dec. 16. 2020) (COVID-19 qualified as a “natural disaster” for purpose
of applying a force majeure clause in contract dispute); aff’d on other grounds 29
F.4th 118 (2d Cir. 2022); Bay City Realty, LLC v. Mattress Firm, Inc., 2021 U.S.
Dist. LEXIS 67054 (E.D. Mich. Apr. 7, 2021) (in breach of contract action, COVID-
19 pandemic and Michigan governor’s business shutdown order in March 2020 were
unforeseeable events that frustrated purpose of parties’ lease); Black Voters Matter
Fund v. Raffensperger, 478 F. Supp. 3d 1278, 1316 (N.D. Ga. 2020) (comparing
COVID-19 cases with “other natural disaster cases” in the voting rights context),
aff’d 11 F.4th 1227 (11th Cir. 2021); Friends of Danny DeVito v. Wold, 227 A.3d
872, 889 (2020) (“COVID-19 pandemic is, by all definitions, a natural disaster and
catastrophe of massive proportions”), cert. denied 141 S. Ct. 239
(2020); Commonwealth v. Mills, 104 Va. Cir. 350, 351-53 (Cir. Ct. Madison Cty.
2020); (“the Coronavirus rises to the level of a natural disaster as a communicable
disease of a public health threat as defined in” the Virginia Code); Commonwealth
v. Vila, 104 Va. Cir. 389, 393 (Cir. Ct. Fairfax Cty. 2020) (coronavirus natural
disaster for purpose of state speedy trial act). See also Badgley v. Varelas, 729 F.2d
894, 902 (2d Cir. 1984) (referring to “natural disasters such as fire or
disease”); NRDC v. EPA, 896 F.3d 459, 464 (D.C. Cir. 2018) (“an ordinary reading

                                         31
DOCS_LA:344272.10 05233/003
        Relying, in part, on Easom v. US Well Servs, 527 F.Supp. 3d 898 (S.D.Tex.

2021), the Bankruptcy Court correctly concluded that COVID-19 was (i) a “disaster”

because it killed two million people and infected one hundred million more in one

year and (ii) “natural” because human beings were not responsible for starting or

consciously spreading it. Stewart v. Art Van, 638 B.R. at 541. Appellants’ reliance

on the Fifth Circuit’s recent reversal of the District Court for the Southern District

of Texas, in which it “decline[d] to expand the definition of ‘natural disaster’ beyond

what is justified by the Act’s statutory language, context and purpose,” is not

persuasive, because the Fifth Circuit’s determination is inconsistent with both the

language of the WARN Act and the relevant regulations.

        In Easom v. US Well Servs, 2022 U.S. App. LEXIS 16556 (5th Cir. June 15,

2022), the Fifth Circuit applied the doctrine of “noscitur a sociis” (“it is known by

its associates”) and concluded that “the appearance of ‘natural disaster’ in a list with

‘flood, earthquake or drought’ suggests that Congress intended to limit ‘natural

disaster’ to hydrological, geological and metrological events”. Easom v. US Well

Servs, 2022 U.S. App. LEXIS 16556, at *11. As was noted above, neither the statute

nor the regulations limit the term “natural disaster” in such a way. To the contrary,

they specifically contemplate that “any form of natural disaster” will qualify.



of ‘natural event’ summons images . . . and organic processes, such as viral
epidemics”).

                                          32
DOCS_LA:344272.10 05233/003
        The Fifth Circuit further reasoned that Congress’ failure to specifically

include the terms “pandemic” and “virus” “justifies the inference that those terms

were deliberately excluded.” Id. Again, had Congress wanted to limit the definition

of a “natural disaster” to only the items specifically included in the statute it could

have done so, and it did not. Instead, Congress used the broad term “any form of

natural disaster” followed by “such as”.

        Finally, the Fifth Circuit reasoned that it must narrowly construe anything that

permits the reduction of the 60-day notice period (i.e. the exceptions) because

reducing the notice period runs counter to the purpose of the WARN Act, which is

to provide employees with “transition time to adjust to the prospective loss of

employment to seek and obtain alternative jobs and, if necessary to enter skill

training or retraining that will allow these workers to successfully compete in the job

market.” Id. at *12 (quoting 20 C.F.R. § 639.1(a)). This reasoning does not make

sense in the context of a worldwide pandemic. The Layoff occurred because the

states in which the Debtors operated were subject to mandatory, government ordered

closures and the confinement of residents to their homes. There were no retraining

programs. There were no new jobs. Rather, there was widespread government

mandated (and government subsidized) waiting at home until the pandemic subsided

and governors of each state permitted businesses to reopen.            Construing the




                                           33
DOCS_LA:344272.10 05233/003
exceptions narrowly to ensure that workers got the benefit of a retraining period

makes no sense in this context.

        Accordingly, the Debtors were not required to give notice of the Layoff

because COVID-19 is a “natural disaster.”

        2.       The But-For Causation Standard Applies to the Natural Disaster
                 Exception
        In its Opinion, the Bankruptcy Court did not resolve the issue of the proper

causation standard to be used in applying the “due to’ statutory language in the

Natural Disaster Exception because it had found that the pandemic was the

immediate, direct cause of the Layoff. See 638 B.R. at 542 (“The Court does not

need to decide whether it agrees that the ‘but for’ standard applies to the natural

disaster exception. Even assuming that the more stringent standard of causation

applies here, the Court has already analyzed the causation issue in the discussion of

the UBC exception, supra. The undisputed facts in this case support the finding that

the COVID-19 was an immediate cause of the March 20, 2020 layoff.”).

        As discussed above in Section IV.B, COVID-19 was the direct cause of the

Layoff under any standard of causation, but in any event, but-for causation is the

correct standard for analyzing the Natural Disaster Exception. But-for causation

asks whether an effect would have occurred in the absence of a particular event, not

whether that factor or event directly or exclusively caused the effect. See U.S. v.

Salinas, 918 F.3d 463, 466 (5th Cir. 2019) (“A proximate-cause inquiry would ask

                                         34
DOCS_LA:344272.10 05233/003
how directly each cause affected the final outcome, but the but-for causation

standard asks simply whether the outcome would have occurred in the absence of

the action.”); Bostock v. Clayton Cty., Ga., 140 S. Ct. 1731, 1739 (2020) (noting that

“[the but-for standard] can be a sweeping standard’ and “[o]ften events have multiple

but-for causes,” and that “a but-for test directs us to change one thing at a time and

see if the outcome changes. If it does, we have found a but-for cause.”).47

        Requiring the subject natural disaster to have directly caused the Layoff for

the Natural Disaster Exception to apply is an overly narrow construction that in many

cases would nullify the protection afforded by WARN Act section 3(b)(2)(B). Based

on a plain, ordinary reading of the text of the Natural Disaster Exception, the “due

to” language reasonably signifies a less stringent, more flexible causation standard

– a but-for causation. Common sense and the structure of the WARN Act reinforce

the Trustee’s textual interpretation.



47
  Applying such standard here, but for the threat of infection and death from COVID-
19, the foot traffic in the Debtors’ stores for the GOB Sales would have continued
apace, and Appellants would have worked throughout their 60-days’ notice period
under the March 5, 2020 WARN Notice. But for the threat of infection and death
from COVID-19, the Debtors’ employees would not have been afraid to come to
work. But for the threat of infection and death from Covid-19, the Debtors would
not have been under threat of compulsory closures in every state in which it did
business. But for the threat of infection and death from COVID-19, the Governor of
Pennsylvania would not have ordered the Debtors to close all of their stores in
Pennsylvania by 8 pm on March 19, 2020. But for the threat of infection and death
from COVID-19, the Debtors would not have issued the COVID WARN Notice on
March 19, 2020 and would not have terminated Appellants on March 20, 2020.

                                          35
DOCS_LA:344272.10 05233/003
        Requiring proof of direct cause here instead of but-for cause would effectively

eliminate the advantages of the WARN Act’s standalone Natural Disaster Exception.

By their nature, natural disasters adversely and indiscriminately affect large areas

and often entire communities (employers and employees alike) without warning.

Instead of burdening employers and courts with WARN Act litigation after a natural

disaster, a more flexible Natural Disaster Exception facilitates supporting and

rebuilding communities when the disaster subsides. Though employers often have

superior information about their upcoming employment decisions -- information

employees can use to make informed decisions about their own lives -- the Natural

Disaster Exception recognizes that this is not always the case and that holding

employers liable for not providing 60 days’ notice would sometimes harm

businesses and their communities.48



48
   Appellants urge this Court to follow the Department of Labor’s regulatory
guidelines found in 20 CFR § 639.9(c)(4), which state that the Natural Disaster
Exception does not apply if the layoffs are an “indirect” result of a natural disaster.
But as the District Court in Easom observed, it is axiomatic that “[w]hen, as here, a
regulation conflicts with the unambiguous language of a statute, the statute
controls.” Easom v. US Well Servs., 527 F.Supp. 3d 898, 906 (S.D. Tex. 2021), rev'd
and remanded by, 2022 U.S. App. LEXIS 16556 (5th Cir. June 15, 2022) (finding
the phrase “due to” to be ambiguous and granting “controlling weight” to the DOL
regulation). See, e.g., Ragsdale v. Wolverine World Wide, Inc., 535 U.S. 81, 84
(2002) (a regulation penalizing an employer for not informing an employee that
leave would be counted as Family and Medical Leave Act conflicted with the statute
and was invalid). Similarly, deference to the regulations pursuant to Chevron U.S.A.
Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837 (1984), does not apply

                                           36
DOCS_LA:344272.10 05233/003
        Congress in 1988 considered a proposed version of the Natural Disaster

Exception that would have described the exception as applying when a layoff is

“due, directly or indirectly, to any form of natural disaster,” but ultimately enacted

the exception without the “directly or indirectly” language. 134 Cong. Rec 16,122-

23 (1988). See also 134 Cong. Rec. S8689 (daily ed. June 28, 1988) (remarks of

Sen. Dole) (explaining that the language was removed because “there was some

question what ‘directly’ means and what ‘indirectly’ means”).49 As a matter of basic

statutory construction, the foregoing strongly suggests that Congress intended a




where the statute is clear. Johnson v. Guzman Chavez, 141 S. Ct. 2271, 2291 n.9
(2021).
49
   The legislative history supports a more flexible and broad causation standard such
as the but-for causation standard, rather than a direct or otherwise more stringent
causation standard. Indeed, Senator Robert Dole (R-KS) explained: “So I think the
amendment [striking the words “directly or indirectly”] is clear. I think there was
some question what ‘directly’ means and what ‘indirectly’ means. Now it is going
to be a matter of proof, and I think that is what we intended in the first place. It may
not be just those who serve the farmer. It might be somebody downstream. It might
be a barge operator. It might be someone else.” 134 Cong. Rec. S8689 (daily ed.
June 28, 1988) (remarks of Sen. Dole). Senator Howard Metzenbaum (D-OH), a co-
sponsor of the WARN Act bill, also made statements suggesting that the applicable
causation standard can be something less demanding than direct causation and that
there may be grey areas: “This is not a carte blanche so that anybody who claims
they had some impact, however small, because of the drought would not have to give
notice. I think you are going to have to be able to determine whether or not the
closing or mass layoff was, indeed, actually due to the natural disaster …. I think it
may wind up having to be, in some instances, a court issue, were some employer to
attempt to claim that somehow, in some way, the farmers could not get to work
because they were on the farms and therefore they had to close the plant.” 134 Cong.
Rec. S8689 (daily ed. June 28, 1988) (remarks of Sen. Metzenbaum).

                                          37
DOCS_LA:344272.10 05233/003
more generalized, flexible causation standard, instead of a strict direct or proximate

cause standard.

        Further, the United States Supreme Court has held in a non-WARN context

that Congress’s use of the phrase “because of” (a phrase comparable to “due to” (see,

e.g., Merriam-Webster Dictionary, definition of “due to” (preposition) (“as a result

of:         BECAUSE           OF”)     (available      at      https://www.merriam-

webster.com/dictionary/due%20to)) demonstrates its intention to incorporate but-for

causation and cautioned courts against reading more stringent causation

requirements into statutes that impose only but-for causation. See Bostock, 140 S.

Ct. at 1739 (“Congress could have taken a more parsimonious approach. As it has

in other statutes, it could have added ‘solely’ to indicate that actions taken ‘because

of’ the confluence of multiple factors do not violate the law.”).

        Accordingly, the applicable causation standard is but-for causation, however,

in any event, COVID-19 was the direct cause of the Layoff under any standard of

causation. The Bankruptcy Court’s decision should be affirmed.

D.      The Bankruptcy Court Did Not Err in Denying Appellants Any Further
        Discovery in the Adversary Proceeding.
        As discussed above, all relevant, material facts are undisputed and on this

basis and the record before it, the Bankruptcy Court properly granted summary

judgment to the Trustee. In order to justify the need for additional discovery,

Appellants were required to specify the discovery they sought that could overcome

                                          38
DOCS_LA:344272.10 05233/003
the Trustee’s summary judgment motion.50 See, e.g., Simpson v. Panhandle S.

Plains Fair Ass'n, 2001 U.S. Dist. LEXIS 15080, at *4-*5 (N.D. Tex. Aug. 9, 2001)

(“the summary judgment rules do not require that discovery take place before a

motion for summary judgment can be granted”; for a proper request for continuance

under Fed.R.Civ.P. 56(f), the nonmoving party must “(1) present specific facts why

he was unable to respond substantively in opposition to the motion; and, (2)

specifically demonstrate how not granting the summary judgment or granting

additional time for discovery will rebut the moving party’s evidence that there is no

genuine issue of material fact. [citations omitted] In other words, the party opposing

summary judgment ‘must show how the additional discovery will defeat the

summary judgment motion.’ [citation omitted] ‘Vague assertions by the non-

moving party that discovery will uncover unspecified facts are not enough to trigger

Rule 56(f) protection.’”); Shelton v. Lemons, 486 Fed.Appx. 395, 396-97 (5th Cir.

2012) (similar).


50
  It is disingenuous for Appellants to complain about the purportedly little discovery
obtained in the Adversary Proceeding. The Debtors’ intentions and Planned
Liquidation Process are evidenced by the voluminous, publicly filed documents that
are part of the record in these cases and have long been available to Appellants on
the Court’s docket in the bankruptcy cases. In addition, Appellants’ counsel
appeared at numerous hearings during the Chapter 11 Cases. (See U.S. Bankruptcy
Court - District of Delaware Confirmed Telephonic Appearance Schedule
(Honorable Christopher S. Sontchi) in Art Van’s Chapter 11 case for hearing dates
March 26, 2021, April 3, 2021, and April 6, 2021 (Docket Nos. 192, 240, 262 in No.
20-10553.) Finally, the Trustee provided informal discovery to Appellants’ counsel
both prior to, in connection with and after a mediation between the parties.

                                         39
DOCS_LA:344272.10 05233/003
        Appellants have not met this burden. Rather, they speculate in their Opening

Brief there may be a smoking gun to be uncovered in discovery. Opening Brief, p.

30. As ruled by the Bankruptcy Court, Appellants’ insinuations and suggestions are

simply inapposite: “The Plaintiffs’ argument that temporary furloughs could have

been a better option for the Debtors is not a factual dispute, but merely debating the

Debtors’ actions in hindsight. The Court should evaluate the UBC WARN Act

exception objectively and at the time the decisions were made. The undisputed facts

support the finding that the COVID-19 was the proverbial ‘straw that broke the

camel’s back’ and caused the March 20, 2020 layoff.” 638 B.R. at 539.              No

additional discovery is needed or justified.

                                V.    CONCLUSION
        For each of the reasons set forth herein, the Trustee respectfully submits that

the Bankruptcy Court’s Opinion and Order granting summary judgment to the

Trustee with respect to the “natural disaster” and “unforeseeable business

circumstances” exceptions under the WARN Act should be affirmed.


Dated: July 25, 2022        PACHULSKI STANG ZIEHL & JONES LLP
       Wilmington, Delaware
                            /s/ Bradford J. Sandler
                            Bradford J. Sandler (Bar No. 4142)
                            Beth Levine (New York Bar No. 2572246)
                            (admitted pro hac vice)
                            Colin R. Robinson (DE Bar No. 5524)
                            Peter J. Keane (DE Bar No. 5503)
                            919 North Market Street, 17th Floor

                                           40
DOCS_LA:344272.10 05233/003
                              P.O. Box 8705
                              Wilmington, Delaware 19899
                              Telephone: (302) 652-4100
                              Facsimile: (302) 652-4400
                              Email: bsandler@pszjlaw.com
                                     blevine@pszjlaw.com
                                     crobinson@pszjlaw.com
                                     pkeane@pszjlaw.com
                              Counsel to Alfred T. Giuliano, Chapter 7
                              Trustee to Art Van Furniture, LLC, et al.




                                     41
DOCS_LA:344272.10 05233/003
                              CERTIFICATE OF COMPLIANCE
                               Fed. R. Bankr. P. 8015(a)(7)(B)(i)

The undersigned counsel hereby certify that this brief complies with the type-
volume limitation of Fed. R. Bankr. P. 8015(a)(7)(B)(i). The text of this brief was
prepared in Times New Roman 14 point font. According to Microsoft Word’s
word count feature, the brief includes 11,630 words, including the caption page,
corporate disclosure statement, table of contents, table of authorities, signature
blocks and certificates of compliance and service.



Dated: July 25, 2022        PACHULSKI STANG ZIEHL & JONES LLP
       Wilmington, Delaware
                            /s/ Bradford J. Sandler
                            Bradford J. Sandler (Bar No. 4142)
                            Beth Levine (New York Bar No. 2572246)
                            (admitted pro hac vice)
                            Colin R. Robinson (DE Bar No. 5524)
                            Peter J. Keane (DE Bar No. 5503)
                            919 North Market Street, 17th Floor
                            P.O. Box 8705
                            Wilmington, Delaware 19899
                            Telephone: (302) 652-4100
                            Facsimile: (302) 652-4400
                            Email: bsandler@pszjlaw.com
                                     blevine@pszjlaw.com
                                     crobinson@pszjlaw.com
                                     pkeane@pszjlaw.com

                                       Counsel to Alfred T. Giuliano, Chapter 7
                                       Trustee to Art Van Furniture, LLC, et al.




                                              42
DOCS_LA:344272.10 05233/003
